






									


																				

				







	

IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 2077-02





PATTI WHITEHEAD, Appellant



v.



THE STATE OF TEXAS





ON STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE THIRTEENTH COURT OF APPEALS


JACKSON COUNTY





		Hervey, J., filed a concurring opinion in which Keasler, J., joined.


CONCURRING OPINION 



	I join parts IA., I.B., II.E., and III. of the Court's opinion.  The discussion in part II.B. of the
Court's opinion on the appellate standard of review of a trial court's ultimate determination of non-indigence is unnecessary because the issue here is whether to uphold the trial court's determination that
appellant failed to make a prima facie showing of indigence, which is a question of law.  See Lopez v.
State, 954 S.W.2d 774, 776 (Tex.Cr.App. 1997) (McCormick, P.J., dissenting to refusal of State's
discretionary review petition) (prima facie case simply means there is sufficient evidence that if believed
by the factfinder will support a particular finding).

	And, as to the discussion in part II.D. of the Court's opinion on what I assume to be the legal issue
of whether appellant made a prima facie showing of indigence, I would decide that someone who has a
total monthly income of $4,069.33 cannot establish a prima facie case of indigence for purposes of
determining whether the taxpayers should furnish her with a record and a lawyer.  That this person may be
insolvent because of the way she chooses to spend her money is irrelevant to the indigence question.  This
would make it unnecessary to address the issues discussed in parts II.A. and II.C. of the Court's opinion. 

	With these comments, I concur in the Court's judgment.


							Hervey, J.


Filed: March 31, 2004

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